     Case 13-12692        Doc 391      Filed 03/07/19 Entered 03/07/19 10:13:49                 Desc Notice of
                                      Denial of Discharge Page 1 of 1
                                  UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MASSACHUSETTS


In Re:   Steven C. Fustolo                                          Chapter: 7
         Debtor,                                                    Case No: 13−12692
                                                                    Judge Joan N. Feeney



                                    NOTICE OF DENIAL OF DISCHARGE



TO ALL CREDITORS OF Steven C. Fustolo:



By order entered on FEBRUARY 4, 2019 in Adversary Proceeding 14−1193 , this Court has ordered and declared
that the debts of the Debtor, Steven C. Fustolo shall not be discharged in the Debtor's bankruptcy case. Therefore,
despite the Debtor's bankruptcy filing, creditors are now free to enforce, or to resume enforcing, their claims
against the Debtor outside of this bankruptcy case. Creditors' claims against the Debtor are as valid and enforceable
as they would have been if the Debtor had not filed a bankruptcy petition. However, be aware that



1.    the automatic stay continues to stay acts against property of the bankruptcy estate until either the bankruptcy
      case is closed or the asset at issue is abandoned, so creditors may not enforce their rights against an asset of
      the bankruptcy estate until the bankruptcy case is closed, the Chapter 7 Trustee abandons the assets (see 11
      U.S.C. § 362(c) and 554), or a creditor seeks and obtains relief from the automatic stay to proceed against
      the asset; and
2.    except for debts of the kinds listed in 11 U.S.C. § 522(c)(1),(2), and (3), creditors may not enforce their
      claims against assets that the Debtor has exempted under 11 U.S.C. § 522 in the bankruptcy case.


Date:3/7/19                                                         Mary P. Sharon
                                                                    Clerk, U.S. Bankruptcy Court


                                                                    By the Court,

                                                                    Rosemary Contompasis
                                                                    Deputy Clerk
                                                                    617−748−5322
